                                             Case 2:17-cr-00225-TLN Document 50 Filed 05/23/19 Page 1 of 3


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                                          RICARDO GABRIELE-PLAGE
                                      6

                                      7                               IN THE UNITED STATES DISTRICT COURT

                                      8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

                                      9

                                     10   UNITED STATES OF AMERICA,                           Case No. 2:17-CR-00225-TLN
                                     11                  Plaintiff,
                                                                                              STIPULATION AND ORDER
                                     12          v.
                                     13   RICARDO GABRIELE-PLAGE,
B ARTH D ALY LLP
               A TTORNEYS A T L AW




                                     14                  Defendants.

                                     15
                                                 It is hereby stipulated and agreed to between the United States of America through Brian
                                     16
                                          Fogerty, Assistant United States Attorney and defendant Ricardo Gabriele-Plage through his
                                     17
                                          counsel, Kresta Daly, that:
                                     18
                                                 1.      By previous order, this matter was set for a status conference on May 30, 2019.
                                     19
                                                 2.      By this stipulation, defendants now seek to move the status hearing to June 13,
                                     20
                                          2019, at 9:30 a.m.. The defendant seeks to exclude time under Local Code T4. Plaintiff does not
                                     21
                                          oppose this request.
                                     22
                                                 3.      The parties stipulate and request the Court make the following findings:
                                     23
                                                         (a)     The reason for the continuance is to allow the defense time to investigate,
                                     24
                                          review discovery and examine possible defenses.
                                     25
                                                         (b)     Counsel for the defendant believes that failure to grant the above-requested
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                                          additional time would deny the defense reasonable time necessary for effective preparation,
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                                          taking into account due diligence.
                                     28
                                                                                         -1-
                                                  STIPULATION AND ORDER                                          [Case No. 2:17-CR-00225-TLN]
                                             Case 2:17-cr-00225-TLN Document 50 Filed 05/23/19 Page 2 of 3


                                      1                   (c)      The government does not object to a continuance.
                                      2                   (d)      Based on the above-stated findings the ends of justice served by continuing
                                      3   the case outweigh the interests of the public and the defendants in a Speedy Trial.
                                      4                   (e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
                                      5   § 3161, et seq., within which trial must commence, the time period of May 30, 2019 through June
                                      6   13, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local
                                      7   Code T4].
                                      8                   (f)      Nothing in this stipulation and order shall preclude a finding that other
                                      9   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
                                     10   period.
                                     11             IT IS SO STIPULATED.
                                     12
                                          Dated: May 21, 2019.            Respectfully submitted,
                                     13
B ARTH D ALY LLP
               A TTORNEYS A T L AW




                                     14                                           By      /s/ Kresta Nora Daly
                                                                                          Kresta Nora Daly
                                     15                                                   Attorneys for Ricardo Gabriele-Plage
                                     16
                                          Dated: May 21, 2019.                    By      /s/ Kresta Nora Daly for
                                     17                                                   Brian Fogerty
                                                                                          Assistant United States Attorney
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                                               STIPULATION AND ORDER              -2-                                   [Case No. 2:17-CR-00225-TLN]
                                             Case 2:17-cr-00225-TLN Document 50 Filed 05/23/19 Page 3 of 3


                                      1                                                 ORDER
                                      2          The Court, having received, read and considered the stipulation of the parties, and good
                                      3   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The
                                      4   Court specifically finds that the failure to grant a continuance in this case would deny counsel
                                      5   reasonable time necessary for effective preparation, taking into account the exercise of due
                                      6   diligence. The Court finds that the ends of justice to be served by granting the requested
                                      7   continuance outweigh the best interests of the public and defendant in a speedy trial. The Court
                                      8   orders that the time from the date of the parties’ stipulation, up to and including June 13, 2019,
                                      9   shall be excluded from computation of time within which the trial of this case must be
                                     10   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) T4
                                     11   (reasonable time for counsel to prepare) as to all defendants. It is further ordered that the May 30,
                                     12   2019 status conference shall be continued until June 13, 2019, at 9:30 a.m.
                                     13   Dated: May 23, 2019
B ARTH D ALY LLP
               A TTORNEYS A T L AW




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                                     16                                                         Troy L. Nunley
                                                                                                United States District Judge
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                                                   STIPULATION AND ORDER                                           [Case No. 2:17-CR-00225-TLN]
